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     Rick Siegel                        ~sI                            "~      n   !            R.

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                              ~~c~~~                              ~~    ~ r~
     323.512.2600 phone
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                           1N THE UNITED STATES DISTRICT COURT
                         FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                     WESTERN DIVISION




     RICK SIEGEL,                               CASE NO. 2:17-CV-07203 CAS(SSX)
                          Plaintiff
                                                RICK SIEGEL'S NOTICE OF
                   vs.                          MOTION AND MOTION FOR
                                                SUMMARY JUDGMENTS ~~ua,~
                                                       ~-~actS ~1,~2c~,rbC~'~C~
     JULIE SU,in her official capacity as the
     California Labor Commissioner              c~  ~ QlC   S~~~
                          Defendant.
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                                                ~ e~Qt `~~
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      TO ALL PARTIES AND THEIR COUNSEL:



  3          PLEASE TAKE NOTICE that on February 12, 2018 at 10:00 a.m. or as soon

  ~! thereafter as the matter can be heard in Department 8D ofthe above-entitled Court, Plaintiff
     Rick Siegel("Siegel") will, and hereby does, move for summary adjudication for an order
  5
     granting injunctive and declarative relief related to the wrongful enforcement and
  6
     unconstitutionality ofthe Talent Agencies Act based on the claims set forth in Rick Siegel's
  7
     complaint Specifically, Marathon seeks a judgment that there is no triable issue offact as to
  8
     the following claim:
  9
            Issue No. 1: No triable issue of material fact exists regarding how the Act is
 10
     interpreted and enforced. Both sides agree that the Defendant is meting out remedies when
 11
      she finds an individual or entity has procured employment for an artist without getting a
 12   license. The attached memorandum of points and authorities shows unequivocally that there
 13   is a mountain of state, administrative and federal law that has been uniformly found since
 14   1914 that bars such actions. If a statute does not have a penalty provision, no adjudicative
 15   body has the authority to do the legislative task of creating a remedy. California goes
 16   further; it has expressly ruled that an administrative agency cannot create a remedy that its

 17   legislature has not codified.

 18          Issue No.2: The memorandum also, in no small part using the Defendant's own
      words as stated in her determinations noting the impossibility to understand what is and is
 19
      not lawful, show that the Act is unconstitutionally vague on its face and surely in its
 20
      arbitrary and inconsistent enforcement.
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             Issue No.3: The memorandum also clearly shows the unconstitutionality puts a
22
      unconstitutional burden to interstate commerce on its face and as applied; giving wrongful
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      protections and an irrational monopoly to the occupation oftalent agent, to the detriment to
24
      all others concerned, including the artist that must pay an in-state agent when an out-of
25
      state agent gets them a job in a different domicile.
26           The motion for summary adjudication as to these issues is based on this Notice, the
27    accompanying Memorandum ofPoints and Authorities, the Separate Statement of
28    Undisputed Facts, the Declaration of Richard Siegel, the pleadings and papers on file in this
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      action, and upon the argument of counsel at the hearing. As it establishes without material
  1
      controversy, save the Defendant's stubborn reliance over a Court of Appeals ruling over the
  2
      four California State Supreme Court cases the Appeals case either intentionally or
  3
      mistakenly misinterpreted, achoice that cannot be backed up by precedent or common
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      sense, it is clear Plaintiff is entitled to judgment in its favor as a matter oflaw.
  5
  6

  7    Dated: December 4, 2017                            Respectfully submitted,
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                                                          Rick Siegel
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                                  FEDERAL CASES
 Chevron, USA v. NRDC,467 U.S. 837, 844 -845(1984)                         Pg. 19
 City of Chicago v. Morales, 527 U.S. 41 (1999)                            Pg. 18
 Foster-Fountain Packing Co. v. Haydel, 278 U. S. 1                        Pg. 27
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 Human Life of Wash. Inc. v. Brumsickle, 624 F.3d 990(9th Cir. 2010)       Pg. 17
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 Lambert v. California 355 U.S. 225, 228(1957)                             Pg. 21
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 Buchwald v. Superior Court, 254 Cal. App. 2d 347(1967)                    Pg. 2,22-23
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 Gatti v. Highland Park Builders, Inc., 27 Ca1.2d 687, 690.(1946)          Pg. 5
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 Morns v. Williams, 67 Ca12d 733(1967)                                     Pg. 22
 Morrison v. State Board of Education. 1 Cal. 3d 214(1969)                 Pg. 19
 Pacific Bell LLC v. Public Utilities Comm., 140 Cal. App. 4th 71$(2006) Pg. 18
 Raden v. Laurie, 120 Cal. App.2d 778(1953)                                Pg. 2
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 Smith v. Bach, 183 Cal. 259(1920)                                         Pg. 1, 23-24
 Wachs v. Curry, 13 Cal. App. 4th 516(1993)                                Pg. 14, 1?
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                           NEW JERSEY STATE CASES
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                         CALIFORNIA STATE STATUTES
 CA Labor Code
               § 1700 et al                                      Pg. 1
               § 1700                                            Pg. 8,9
               § 1700.4(a)                                       Pg. 11-14
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               § 6126.3(a)                                      Pg. 20
               § 6126.5                                         Pg. 20
               § 7031                                           Pg. 21
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               § 10139                                          Pg. 20
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 Pamela Anderson v D'Avola, TAC 63-93)                          Pg. 15
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 Behr v Dauer And Assoc.(TAC 00-21)                             Pg. 8,9
 Chapman v. Krutonog, TAC 3351                                  Pg. 24
 Thomas Hayden Church v. Brown(1994)TAC 52-92                   Pg.9
 Creative Artists Group v. O'Dell(TAC 26-99)                    Pg. 8, 15
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 Marathon Entertainment v. Rosa Blasi, TAC 15-03                       Pg. 12, 13
 Park v. Deftones(TAC 9-97)                                             Pg. 20
 Parker Posey v. Lila Richardson(TAC 7-02)                              Pg.9
 Richard Pryor v Franklin, TAC 17 MP114(1982)                          Pg. 18
 Wes1e~Snipes v. Robinson(TAC 36-96)                                   Pg. 8
 Solis v. Blancarte, TAC-27089(2013)                                   Pg. 19
 Todd v. Mea er TAC 2012-1341                                          Pg. 16
 Tool v. Larrikin Mana ement(TAC-35-01)                                Pg.9
 Transeau v. 3 Artist M grn~,(TAC 2008-7306)                           Pg.9

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 Don't Bite The Hand That Feeds: A Call For A Return To An Equitable
        Talent Agencies Act Standard, Hastings Comm. &Ent. Law Journal Pg. 7
 Due Process Limitations on Occupational Licensing, Virginia Law Review Pg. 10-11
 Reconciling the Controversies Surrounding Lawyers, Managers, and Agents
         Participating in California's Entertainment Industry,
         Pepperdine Law Review                                         Pg. 7
 Regulation ofAttorneys Under California's Talent Agencies Act;
         A Tautological Approach to Protecting Artists; CA.Law Review Pg. 7
 Taking Away an Artist's "Get Out ofJail Free"Card: Making Changes
       and Applying Basic Contract Principles to California's
       Talent Agencies Act, Pierce Law Review                          Pg. 7
 The Personal Manager In The California Entertainment Industry
        Southern California Law Review, Vol. 52:37{1979)               Pg. 7
                                 STATE REPORTS
 Report ofthe CA Entertainment Commission,Pg. 15                       Pg. 21
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                     MEMORANDUM OF POINTS AND AUTHORITIES

                I.     INTRODUCTION AND SUMMARY OF ARGUMENT

          The California Talent Agencies Act(CA. Labor Code §1700 et seq.,"TAA,"
    "the Act"),"provides no remedy for its violation." Marathon Entertainment v. Rosa
    Blasi, 42 Ca14`h 974, 991 (2008)
          "Where a statute fails to provide a penalty it has been uniformly held that it is
    beyond the power of the court to prescribe a penalty." State v. Fair Lawn Service
    Center, 20 N.J. 468,473(NJ 1956). No exceptions; uniformly held.
          The U. S. Supreme Court noted in Shaffer v. Heitner, 433 U.S. 186, 217(1977),
    that such notice is needed irrespective of whether the statute is of a criminal or civil
    nature: "The strict constitutional safeguards afforded to criminal defendants are not
    applicable to civil cases, but the basic protection against'judgments without
    notice' afforded by the Due Process clause [citation] is implicated by civil penalties."
          In Dyna-Med,Inc. v. Fair Employment &Housing Comm.,(1987)43 Cal. 3d
    1385,the CA. Supreme Court makes it clear that the California Labor Commissioner
    has no latitude to find what she sees as justifiable retribution for the remedy-free
    TAA:"An administrative agency cannot by its own regulations create a remedy which
    the Legislature has withheld.'Administrative regulations that alter or amend the
    statute or enlarge or impair its scope are void and courts not only may, but it is their
    obligation to strike down such regulations."' Id at 1388.
          Between 1914 and 1949, the California Supreme Court made four rulings as to
    when adjudicators have the right to infringe on the contractual rights ofsomeone who
    had allegedly acted unlawfully, each time finding that contractual rights were not to
    be disturbed should there not be "any provision therein (the statute) indicating in
    the slightest that this failure was intended to affect in any degree the right of
    contract." Wood v. Krepps, 168 Ca1382, 386(1914). Also see Smith v. Bach, 183
    Cal. 259, 262(1920); Loving &Evans v. Blick, 33 Cal. 2d 603,608-609(1949), and
    Severance v. Knight-Counihan Co., 29 Cal. 2d 561, 568(1947).
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          Yet despite these singular holdings, personal managers, producers, publicists
    and lawyers run the risk of having their contractual rights affected by Labor
    Commission(LC)enforcement ofthe Talent Agencies Act(CA.Labor Code §1700 et
    seq.,"TAA,""the Act"), leaning on Buchwald v. Superior Court, Cal. App. 2d, 254,
    257: Since the clear object ofthe Act is to prevent improper persons from becoming
    artists] and to regulate such activity for the protection of the public, a contract
    between an unlicensed artists' manager and an artist is void."
          At its core, this lawsuit is about the Talent Agencies Act has no "provision
    therein indicating that this failure [to be licensed] was intended to affect in any degree
    the right of contract,"(Wood Supra), and how Buchwald relied up but whether
    intentionally, with malice, ar simply mistakenly interpreted Wood and the other three
    State Supreme Court cases. It found that adjudicators, without any provision therein
    the TAA indicating the failure to be licensed was intended to give authority to affect
    one's contractual rights, did, wrongly, have the authority to do so.
          When, on December 19, 2013,the Los Angeles Daily Journal published an
    article summarizing the above, it created the appropriate title for the piece:"A
    Generation ofIncorrect Talent Agencies Decisions."
          First enacted to protect ingenues from employers masquerading as job
    counselors, the TAA is now, quoting CA. Supreme Court Justice Katherine Werdegar,
   "a blunt and unwieldy instrument ... of little use to unestablished artists ... and may
    well punish most severely those managers who work hardest and advocate most
    successfully for their clients, allowing the clients to establish themselves, make
    themselves marketable to licensed talent agencies, and be in a position to turn and
    renege on commissions." Marathon v. Blasi 42 Cal. 4th 974(2008).
            The TAA has been derided by courts, attorneys and in law review articles as
    confounding, counter-productive and draconian. The LC is empowered via Lab. Code
    1700.29 to adopt, amend and repeal inconsistent rules and regulations, yet stubbornly
    enforces the Act in an arbitrary, unconstitutional manner; without regard for due process
    oflaw, rational basis or equal protection under the law.


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           If you prick a personal manager, they will bleed. If a manager does work for
    someone and that person withholds owed compensation, they should be able, as all other
    Americans, to use the judicial system to get whole. As detailed hereinafter, there is no
    more a prohibition on unlicensed procurement for artist than there is on doing accounting
    work without being a CPA,or using psychological principals to influence someone's
    behavior without having a psychologist's license. In all other licensing schemes, the
    defining activity ofthe profession is only reserved for licensees when that notion is
    expressly stated in the statute.
           The unconstitutional facial and as applied vagueness ofthe TAA has compromised
    law-abiding attorneys, interfered with producers, disrupted the ethical business dealings
    of promoters and publicists, and put a pall over the occupation of personal management,
    ruining generations of businesses and the lives of personal managers; all to the detriment
    ofthe artist community the Defendant is supposed to be protecting, for the benefit of, as
    Justice Werdegar intimated, the greedy. This court now has an opportunity, in all candor
    a responsibility, to put an end to these affronts to justice.

                                     II.    BACKGROUND

    A.     These Statutes Were Created to Separate Employers and Employment Counselors

          The Artists' Managers' Act was enacted in 1913. The law was codified to stop
    those who serve as employment counselors for artists also being the employers of
    artists. It was a response to owners of burlesque halls and bordellos masquerading as
    talent agents to lure ingenues into their employ.
          The Legislature entrusted the Labor Commission to administer and police the
    Act. Over time, though without legislative directive, the administrative agency started
    to veer from the legislative intent ofkeeping employers from also pretending to be
    employment counselors and see its job as keeping the procurement ofjobs for artists
    as the exclusive purview of licensees. Its focus became keeping `improper persons'


    1 Talent agents were originally called `artists managers.'

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     from being agents, despite the statutes clearly aimed to regulate what people can and
     cannot do one they made the choice to become agents. There is no legislative history
     the Legislature ever considered requiring tests, apprenticeships, schooling or proof of
     competency as a requisite to getting or keeping a license a license.
           This change was first visible in Raden v. Laurie, 120 Cal. App. 2d 778(1953),
     when the LC filed an Amicus Brief claiming a personal manager had used "sham and
    subterfuge designed to conceal"(Id. at 782)his acting as an unlicensed talent agent.
           Conversely, there is no evidence the Commissioner in any way objected when
    the MCA Talent Agency started its production entity in 1952, after the Screen Actors
     Guild President, soon after his agent procured for him a $1,000,000 contract fronting
    for GE,gave his agency, MCA a waiver from its rule banning agents from having
    production entities.2 The Plaintiff could find no evidence the Commissioner ever got
    involved in this obvious violation ofthe true rationale for these statutes.
           Even in 1962, when U.S. Attorney General Robert Kennedy required MCA to
    either tether its production entity or talent agency component, which it did by giving
    up its agency business, or otherwise face legal action for antitrust violations, there is
    no evidence ofLabor Commission interest or involvement.
           The Labor Commission again did nothing during the 1990's when personal
    management firms like Brillstein-Grey (Columbia/Sony) and 3 Arts(FOX)made
    eight-figure deals to serve as production entities, allowing them to employ their
    clients in TV series they produced (I.e., ACCORDING TO JIM and JUST SHOOT
    ME.) These production companies were employment counselors and employer,just as
    MCA was a generation before. Yet again the Labor Commission stood down.
           And today, as the major talent agencies like CAA and WME merge with, buy
    and control production entities that produce films, television and sporting events, thus


    Z"The Screen Actors Guild, under [Ronald] Reagan's leadership, grants Reagan's agency, MCA,an
    immensely valuable "blanket waiver" of its rule prohibiting agents from being producers too. This
    allows MCA,and no other agency, to move aggressively into the production of television shows
    while keeping its base as a talent agency." NY Review of Books review ofDark Victory: Ronald
    Reagan, MCA,and the Mob, http://www.nybooks.com/articles/1987/O1/15/when-reagan-was-reagan/


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     again blurring the lines between employment counselors and employers, the Labor
     Commissioner remains on the sidelines.
          Instead, as it is enforced today by the LC,the TAA creates:(1)confusion
     because ofthe lack of clarity as to who is being regulated, what is being regulated,
    and what the penalties are for violating the regulations;(2)a monopolistic tool for
    talent agents to use over other representatives whom cannot obtain talent agency
    licenses for ifthey did, it would create impasses with the Writers, Actors and
    Directors Guilds' by-laws that limits total agency compensation to 10% cumulatively;
     and (3), an unconstitutional barrier for California-based artists that wish to employ
    out-of-state representatives to find them out-of-state work.

    B.     There Is No Rational Basis For The Labor Commission's Enforcement Of
           Unlicensed Procurement

           In the early 20~' Century there was an understandable concern that ingenues could
    be wrongfully lured into lurid opportunities. Notwithstanding the morality, so many
    post-adolescents today choose those paths: the days of`luring' an ingenue are long over:
    those looking to hire strippers or actors for adult films need only place an ad.
           While the worries remain ofthose in power taking advantage ofsomeone
    vulnerable, those worries also befall those looking for work in restaurants, corporate
    environs and law firms. There is no rational basis to give artists special protections.
           There is zero rational basis to the Labor Commission's enforcement. There is no
    legitimate government interest in penalizing those who have by their actions been of
    service in others making money and changing their careers for the better. The artists who
    file a petition to initiate a TAA controversy for unlicensed procurement are not doing so
    because there has been a failure or they have been lessened, compromised or ripped off.
    Just the opposite, these actions are taken because the artist has found gainful employ and
    now wishes not to pay for the help they were given to attain that success. No law is to be
    used as an "unwarranted shield for the avoidance of a just obligation," Gatti v. Hi ghland
    Park Builders, Inc., 27 Ca1.2d 687,690.(1946).



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           This court previously ruled that unlike all other state and Federal statutes, the
     severability statutes in the Civil Code provide the needed notice for voidance. Finding
     that statutes in the Civil Code gives authority to void a contract for the TA.A licensing
    scheme in the Labor Code without any notation in the Act to direct citizens to the Civil
     Code statutes is the very epitome of unconstitutionally vague; no ordinary citizen would
    know to look there.
           That is not the only issue: if no penalty provision is needed therein the Act itself,
     despite what is expressly stated in Wood, it creates surplusage questions: why do all
    other licensing statutes have voidance provisions ifthe existence ofthe Civil Code
    severability statutes is enough? And if all other statutes need penalty provisions before
    contractual rights can be affected, as the law uniformly holds, why are unlicensed talent
    representatives not worthy ofthe protection of an equal amount ofnotice? Should the
    court wish to affirm that finding, Plaintiff beseeches the Court to include answers to
    these questions in that ruling.
           As employment procurement does not interfere with the Act's intended
    protections; under current enforcement ofthe Act, artists are unjustly enriched and given
    a tool to avoid contractual commitments; and as unlicensed procurement only benefits,
    rather than harms the artist, the prohibition against unlicensed procurement does not
    satisfy due process standards required to justify state regulation. There is no nexus
    between the regulation and the hann: the Government is not interested in keeping artists
    from getting better work; the harm the Act seeks to protect through its words has nothing
    to do with the act of procurement.


    C.     There Is A Disconnect Between The Labor Commissioner's Interpretation
           Of The Act And The Act As Written.

          The TAA,or more specifically, the LC's interpretation ofthe Act and how it
    focuses on policing unlicensed procurement without clear guidelines as to what is
    prohibited, has been an ongoing subject of critical commentary. This was the first
    Law Review article written about the passage ofthe Act:


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              "The Talent Agencies Act presents a peculiar situation — no
         legislative intent can be discerned regarding personal managers and
         when they need licenses to procure employment for their clients....
         ... Two questions that remain unresolved after passage ofthe TAA are
         when, if ever, `procurement activity' is permissible by an unlicensed
         `talent agent,' and what quantum of activity constitutes `procurement
         activity."' The Personal Manager in The California Entertainment
         Industry, Southern California Law Review, Vol. 52:37(1979)Neville
         L. Johnson and Daniel Webb Lang.
          Even after the State created the CA.Entertainment Commission in 1982, which led
     to the Legislature making amendments to the Act in 1986, the Act remained unclear:
             "Ambiguous language renders the Act inherently unjust because it
         does not give fair and adequate warning ofthe type of activity that
         constitutes procurement and it does not provide a consistent standard
         that the Labor Commissioner can apply to determine whether an
         individual has violated the Act." Regulation ofAttorneys Under
         California's Talent Agencies Act; A Tautological Approach to
         Protecting Artists; CA.Law Review, Vol. 80, Is. 2, pg. 492(1992)
         James M. O'Brien III.
            "The Legislature fostered confusion by failing to stipulate precisely
         which individuals and specific activities fall beneath the umbrella ofthe
         new licensing requirements." Don't Bite The Hand That Feeds: A Call
         For A Return To An Equitable Talent Agencies Act Standard, Hastings
         Comm. &Ent. Law Journal, 223, 233(1997)Chip Robertson.
             "The TAA,the TAA's predecessors and amendments, the CEC,
         California courts, and the Labor Commissioner have each failed to
         define precisely which activities constitute `procurement."'Reconciling
         the Controversies Surrounding Lawyers, Managers, and Agents
         Participating in California's Entertainment Industry, Pepperdine Law
         Review, Vol. 28, 381 (2001) Gary E. Devlin.
             "[I]nconsistent interpretations by the Labor Commissioner and
         courts,[have created] an environment where no one is quite sure what is
         allowed. The ambiguity leaves unlicensed personal managers unfairly
         exposed to staggering potential liability." Taking Away an Artist's "Get
         Out ofJail Free"Card: Making Changes and Applying Basic Contract
         Principles to California's Talent Agencies Act. Pierce Law Review;
         Vol. 8, No. 3(2010) Gregory Albert.

           No one, save the Labor Commissioner and some attorneys who make
    representing artists trying to void their management contracts a cottage business, has


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    ever tried to defend the Act's clarity. The Defendant has been unsuccessful in that
    effort. Quoting Marathon v. Blasi, 42 Cal. 4~'974,989:"We note we are not called on
    to decide, and do not decide, what precisely constitutes "procurement" under the Act.
    The Act contains no definition, and the Labor Commissioner has struggled over time
    to better delineate which actions involve mere general assistance to an artist's career
    and which stray across the line to illicit procurement."
           Lab. Code 1700.4(a) defines a talent agent as one who efforts to procure
    employment for artists, but the Act does not explicitly bar non-licensees from such
    procurement efforts. It is a basic legal maxim that which is not prohibited is allowed,
    but instead the LC arbitrarily interprets, and courts have subsequently accepted, that
     1700.4(a) restricts lawful procurement ofemployment to artists to licensees.
           For decades, the Labor Commissioner has ruled that sending out sales
     materials to a potential talent buyer is a violation of CA. Labor Code 1700.4 (a).(See,
    for example, Marathon v. Blasi, TAC 15-03, Behr v. Dauer and Associates(TAC 00-
    21).) Yet in a brief recently submitted to the Ninth Circuit, the Labor Commissioner
    unequivocally states: "Personal managers do not need a license to send out
    resumes, photographs, videotapes or written materials for an artist."(E~ibit 1,
    Appellee Principal Brief in National Conference ofPersonal Managers v. Julia Su et
    al.; Pg. 28.) There has been no change in the law, so either this is an arbitrary,
    unexplained change, or evidence the Labor Commissioner has no more of a clue as to
    what is a violation is than the numerous individuals who have been compromised by
    the TAA's vagueness.
         In Wesley Snipes v. Delores Robinson(TAC 36-96)and Creative Artists
    Group v. Jennifer O'Dell(TAC 26-99), the Labor Commissioner determined the
    "requirements ofthe [Safe Harbor] statute cannot be construed to call for a game
    of`Mother May I?' every time an artist manager takes some action during a long-
    term relationship ... To find otherwise would be to ignore the realities ofthe day
    to day life in the [entertainment] industry."




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         More often, however, the Labor Commissioner has found it unlawful for a
    personal manager to proactively procure even once without proof of a request
    from a licensed agent. In Behr v Dauer And Assoc.(TAC 00-21)and in Tool v.
    Larrikin Mana~ement(TAC-35-01), the Commissioner found the personal
    manager did not qualify for the Safe Harbor because the manager had called the
    talent agency about an opportunity, instead ofthe agency calling the management
    firm. See also Transeau v. 3 Artist Mg~nt., TAC 2008-7306. There was no
    modification in the law; the change was arbitrary and done without explanation.
         In Parker Posev v. Lila Richardson(TAC 7-02), the Commissioner voided
    the contractual rights of an attorney for procuring without a license. However,in
    Jewel v. Inga Vainshtein(TAC 21-00), the Commissioner left the contractual
    rights ofthe attorney intact because Jewel only petitioned to void paying her
    manager commissions. There is nothing in the TAA that says the Labor
    Commissioner only has the authority to enforce the precepts of the Act when
    requested by a petitioning artist.
         Gittleman v Karolat, TAC 24-02 holds that a "talent agency license is not
    required for the procurement of a guest appearance on a talk show provided the
    appearance does not involve the rendition of artistic services."(Id., pg. 27.) Yet a
    case decided almost simultaneously, Blasi v. Marathon Entertainment, TAC 15-03
    found that this Plaintiff's procuring three talk show appearances(where the actor
    was not acting) violated the Act.(Id., pg. 21.) The same facts, the same time
    period, and two wholly opposite rulings.
           Similarly, the Labor Commissioner has arbitrarily created and later changed
    the harshness ofthe meted penalties. At first the LC uniformly required that those
    found to have procured employment for an artist without a license must return all
    commissions they had ever received. But without legislative guidance, new laws, or
    explanation or notice ofthe amended remedy, beginning with Thomas Haden Church
    v. Ross Brown(1994)TAC 52-92, found violators only had to return one year's
    commissions from the date offiling the petition for controversy.
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           In 2008, the U.S. Supreme Court ruled that the CA Labor Commissioner's
    long-time interpretation of§ CA Labor Code § 1700.45 violated federal law, finding
    that if disputing parties have an arbitration clause, they do not have to go to the
    administrative agency for resolution. See Preston v. Ferrer, 552 U.S. 346(2008).
           The same year, the CA Supreme Court found the Defendant incorrectly
    interpreted and enforced the TAA on the occasions it did not consider severability
    when a TAA violation is found. See Marathon v. Blasi(2008)42 Ca1.4th 974.

                     III.    SUMMARY JUDGMENT STANDARD

           A motion for summary judgment shall be granted when the moving party
    demonstrates "that there is no triable issue as to any material fact and that the moving
    party is entitled to judgment as a matter of law."(Cal. C. Civ. Pro. § 437c(c).)In
    making this determination, the court shall consider all of the evidence set forth in the
    papers ...and all inferences reasonably deducible from the evidence.(Id.) Moreover,
    the court may rely on "affidavits, declarations, admissions, answers to interrogatories,
    depositions, and matters of which judicial notice shall or may be taken."(Cal. C. Civ.
    Proc. § 437c(b).) A summary judgment motion can expedite litigation by avoiding
    needless trials and "penetrate through evasive language and inept pleading and to
    ascertain the e~stence or absence oftriable issues." Michael H. v. Gerald D, 191
    Ca1.App.3d 995, 1003(1987)(citations omitted).)

                                    IV.    ARGUMENT

          Interpreted in a manner that departs greatly from its intended purpose and
    legislative intent, enforcement ofthe Talent Agencies Act has no equitable
    justification, constitutionally offensive and is enforced in an arbitrary, indefensible
    and unconstitutional manner by the California Labor Commissioner.
           For the enforcement of an occupational licensing scheme to pass the bar of
    constitutionality, there must be clear notice of:(1) who is subject to the enacted
    regulation;(2)what is the conduct being regulated; and(3) what are the consequences


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    found violators ofthe statute face.(See Due Process Limitations on Occupational
    Licensing, Virginia Law Review (Sept. 1973), Vol. 59, No.6, pg. 1108.)
           The Talent Agencies Act fails on two ofthe three.

     A.     There is Ambiguity as To What Is Being Regulated

           1.     § 1700.4(a)Has No Language Restricting Activity To Licensees

           Marathon found that the TAA:"regulates conduct, not labels; it is the act of
    procuring (or soliciting), not the title of one's business, that qualifies one as a talent
    agency and subjects one to the Act's licensure and related requirements.(§ 1700.4,
    subd.(a).) Any person who procures employment —any individual, any corporation,
    any manager — is a talent agency subject to regulation." Id at 9$4.
           While respecting that only the upper court can change this holding, the holding
    is wrong. When lawmakers want a licensing statute to limit specific conduct to those
    with licenses, they codify statutes stating either that an activity is reserved only for
    licensees, or conversely prohibit non-licensees from engaging in that activity. The
    TAA has no such statute. In § 1700.4(a), the legislature defined a "Talent agency"
    through its defining activity -- "a person or corporation who engages in the
    occupation of procuring, offering, promising, or attempting to procure employment or
    engagements for an artist or artists" —but nowhere in the Act is there a statute making
    procuring employment for an artist the exclusive domain oflicensees.
           CA Business &Professions Code(BPC)§ 5615 defines landscape architects
    by noting the activities landscape architects engage in:"A person who practices
    landscape architecture within the meaning and intent ofthis article is a person who
    offers or performs professional services, for the purpose oflandscape preservation,
    development and enhancement, such as consultation, investigation, reconnaissance,
    research, planning, design, preparation of drawings, construction documents and
    specifications, and responsible construction observation." And like with the TAA,




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    there is no statute inside the Landscape Architects Act making any ofthose activities
    the exclusive domain ofa licensee.
           Plaintiff could find no example of a gardener, landscape designer, tree trimmer,
    lawn maintenance specialist or swimming pool builder found to have violated the
    Landscape Architects Act for engaging in the above defining activities of this
    profession, save those who were holding themselves out as landscape architects.
           BPC § 7803 defines a Geologist as "a person engaged in the practice of
    geology," which is defined in BPC § 7802.1 as "that science which treats ofthe earth
    in general; investigation ofthe earth's crust and the rocks and other materials which
    compose it; and the applied science of utilizing knowledge ofthe earth and its
    constituent rocks, minerals, liquids, gases and other materials for the benefit of
    mankind." And like with the TAA,there is no statute inside the Geologists Act
    making any ofthose activities the exclusive domain of a licensee.
           Plaintiff could find no example of conservationists, mineralists, professors,
    engineers or others who involve themselves in earth science for engaging in the
    above activities that were not wrongly claiming the title of professional geologist,
    which is a violation ofBPC § 7804.
           The verbiage ofBPC § 2903(a) mirrors CA. Labor Code 1700.4 (a):"No
    person may engage in the practice of psychology, or represent himself or herself to
    be a psychologist, without a license..."
           BPC § 2903 then defines the practice of psychology:"rendering or offering
    to render ... any psychological service involving the application of psychological
    principles, methods, and procedures of understanding, predicting, and influencing
    behavior, such as principles pertaining to learning, perception, motivation,
    emotions, and interpersonal relationships, and the methods and procedures of
    interviewing, counseling, psychotherapy, behavior modification and hypnosis; and
    of constructing, administering, and interpreting tests of mental abilities, aptitudes,
    interests, attitudes, personality characteristics, emotions and motivations."




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            Like the TAA,the Psychologists Act has no statute making any ofthose
     activities the exclusive domain of a licensee. Plaintiff could find no example of any
    Scientologists, who regularly engage in constructing, administering and interpreting
    tests of mental abilities, aptitudes, interests, etc. to affect others' behavior being
    found in violation of§ 2903. Nor could Plaintiff find any pastor, rabbi, salesperson,
    life coach, teacher, trainer, doctor, nurse, physical or drug rehabilitation
    professional, advertising and marketing executive or any other person that use
    psychological principles to understand and influence the behavior of others save
    those calling themselves psychologists.
           BPC § 5034 defines a public accountant as "any person who has registered
    with the [California Board of Accountancy] as a public accountant and who holds a
    valid permit for the practice of public accountancy.
           BPC § 5050 states how,"no person shall engage in the practice of public
    accountancy in this state unless the person is the holder of a valid permit to practice
    public accountancy in this state unless the person is the holder of a valid permit to
    practice public accountancy..."
           Like the TAA,the Accountants Act has no statute making any ofthose
    activities the exclusive domain of a licensee. Plaintiff could find no example of
    anyone being found to have violated that statute for engaging in any of the activities
    the accountant-defining activities as delineated in BPC 5051 (a—i) unless they were
    holding themselves out as an accountant.
           If defining an occupation by its activities makes the defined activities unlawful
    for non-licensees, only licensees should be able to use psychological principles or
    create and keep business records or beautify and maintain outdoor areas or it is lawful
    to procure employment for artists without a license. Basic legal principles require the
    LC and courts to interpret the TAA as it does all other licensing schemes: that without
    a statute expressly reserving an activity to licensees, non-licensees can engage in an
    activity that defines a regulated occupation without acting unlawfully. Without that
    clarity, the statute is unconstitutionally vague.


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           2.     No One Knows Ezactly What Procurement Is, And Which,If Any,
                  Activities Can Only Licensees Engage In

           Plaintiff recognizes that Marathon holds that CA Labor Code 1700.4(a)limits
    the activity of procuring employment opportunities for artists to those with a talent
    agency license. However, neither Marathon nor any Court has been asked to ascertain
    ifthe TAA has clearly enough defined what `procurement' is and is not. Marathon
    noted that,"[W]e are not called on to decide, and do not decide, what precisely
    constitutes "procurement" under the Act." Id. at 989.
           Nor has any court has ever ruled on its application. Wachs v. Curry, 13 Cal.
    App. 4th 616(1993)3 found that,"occupation of procuring [employment]" was not
    "so patently vague and so wholly devoid of objective meaning that it provides no
    standard at all," but on its own raised the applicability question: "[wJhether the Act is
    unconstitutional as applied to plaintiffs is a questionfor another day." _(Id. at 629;
    emphasis supplied).
           Like all laws, licensing schemes must clearly detail the line where lawful
    activity ends for those without the requisite license. As Marathon noted, the Act does
    not define procurement and the Defendant's rulings have been inconsistent. Id.
           For the TAA to be constitutional as to what activities are in fact regulated, it
    must be clear where the line crosses from lawful career assistance to illicit
    procurement. As sales materials are clearly part ofthe sales process, can only
    licensees create the materials used to sell their artists to the hiring community? Is a
    license needed to choose the headshots, create the resumes and bios and/or edit a
    client's prior work to fashion a sizzle reel? There is nothing in the TAA that clarifies
    whether these activities, or any other activities, are reserved for licensees.
           Similarly, there is nothing in the TAA that states that only licensees can send
    out these sales materials for an artist. Can unlicensed representatives send these
    materials out to some people but not to others? The TAA offers no answers to this



    3 This case was Arsenio Hall v. X Management(TAC 19-90) when a Labor Commission controversy.


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     question. The TAA is most o$en compared to the State Contractors Act; in contrast,
    that licensing scheme expressly points out what one cannot due relevant to plumbing,
    construction and electrical work.
           In her reply brief defending a suit brought by the National Conference of
    Personal Managers, The Labor Commissioner stated, "Personal managers do not need
     a license to "send [] out resumes, photographs, videotapes, or written materials for an
    artist." E~ibit 1: Pg. 28 of Appellee Principal Briefin National Conference of
    Personal Managers(NCOPM)v. Julia Su et a1.4
           In Marathon Entertainment v. Rosa Blasi, TAC 15-03, it was determined that
    submitting the sales materials in "without first being requested to do so by [Blasi's
    licensed talent agent]"(Id., Pg. 5, lines 20-21)and "sending out the demo tapes of
    petitioner ... are in violation ofthe Act. Id., Pg. 7, lines 16-21.
           Per Pamela Anderson v D'Avola(TAC 63-93), the TAA Safe Harbor
    provision, CA.Labor Code 1700.44(d)"does not permit an unlicensed person to
    engage in any procurement activities other than `negotiation of an employment
    contract.' Discussions with producers or casting directors in an attempt to obtain
    auditions for an artist exceed the scope of this statute."
           Despite noting shared representation should not be a game of"Mother May I,"
    in Creative Artists Group v. Jennifer O'Dell(TAC 26-99), the Defendant ruled
    against the manager for "submitting the artist without the agent's knowledge." Id., Pg.
    5,lines 8-9. The contract was voided because by submitting the resume and 8x10 to a
    casting director, the personal manager could not rely on the Safe Harbor, as they
    exceeded "that permission by submitting the artist without the agent's knowledge."
           It is irrational to think a statute has constitutional clarity when not even the
    agency with the responsibility to enforce it has ruled both ways on the same issue.




    4 The Ninth Circuit did not make a determination on the merits, instead finding that while
    the Labor Commissioner was the right party to sue, the Conference did not have standing
    because, unlike Siegel here, there was no Plaintiffinstantly being affected by the Act.


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           The Commissioner, per the Ninth Circuit Brief, says representatives do not
    need a license to send out the sales materials for an artist. But what happens when
    their submissions result in a response, can they take the call? Can personal managers
    and other unlicensed representatives lawfully accept an offer for their client to tYien
    audition, or ofemployment by email, letter or phone from a casting director,
    producer, network, studio, club owner or other members ofthe hiring community?
    Can sales materials only be sent out ifthe representatives are certain no potential job
    can come from the submission? Since creating the picture/resume/reel of an artist is
    part ofthe sales process, part of procuring work for the artist, how can anyone save a
    licensed agent create the sales materials. Ifthe submission of sales materials and that
    leads to an offer, even ifthat is legal, is it legal for the unlicensed representative asks
    the buyer to increase the size ofthe offer? The TAA as written provides none ofthese
    answers and a full examination of TAA determinations only muddies those waters.
         The Labor Commissioner acknowledges difficulty in discerning violations. "It
    goes without saying there will not always be a bright line between what constitutes
    arranging for the placement of an artist, and what constitutes selling a product or
    service, on the other. For close cases, there is no single formulation that can delineate
    on which side ofthe line the activity falls." Todd v. Meagher TAC 2012-1341 (Pg.
    16, 11. 16-19.) Game,set, match re: unconstitutional vagueness: if those
    empowered to enforce the law cannot clearly discern where lawfulness ends and
    lawlessness begins, how can a reasonable layperson of average intelligence be
    expected to make that distinction?
           With no statutory guidance and the Defendant's inconsistent holdings and
    opinions as to whether personal managers, publicists or lawyers can negotiate
    unsolicited opportunities, this Court must fmd this to be unconstitutionally vague.

           3.     The Defendant Ignores Basic Rule Of Statutory Construction

           In the aforementioned brief against the NCOPM,the Defendant noted that the
    words in a statute must be construed "according to [their] ordinary, contemporary,


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     common meaning." Human Life of Wash. Inc. v. Brumsickle,624 F.3d 990, 1021
    (9th Cir. 2010)(citations omitted)." Brief Supra, pg. 25. It is one of the fundamental
     rules of statutory construction, and as detailed below, one the Defendant ignores in
     enforcing the TAA.
           "To `procure' means `to get possession of obtain, acquire, to cause to happen
     or be done; bring about." Wachs Supra. Its synonyms include: "acquire, attain, bag,
     bring in, capture, come by, draw, gain, garner, get, knock down, land, make, obtain,
     earn, pull down,realize, reap, secure, win."(Merriam-Webster.)
            Negotiate is not a synonym of procure, nor is "negotiate" synonymous with
     any ofthe almost two-dozen words that are synonymous with "procure." Per
     Merriam-Webster, negotiation is rather "the act or practice of negotiating," which is
    "to bring about through discussion and compromise; to deal with usually skillfully or
     efficiently; to talk over or dispute the terms of a purchase; and to carry through (as a
     process) to completion; and its synonyms are numerous: arrange, bargain, concert,
    conclude, settle, chaffer deal, dicker, haggle, covenant; argue, debate, discuss,
    hammer out, hash, reason, talk, talk over, work out, address, contend, cope, field,
    grapple, hack, manage, maneuver, manipulate, handle, play, swing, take, treat,
    chaffer, deal, dicker, haggle, horse-trade, engineer, finesse,jockey, bring off, carry
    off,pull, command, direct, guide, steer, control, micromanage, regulate, run react,
    respond, etc.
            Thesaurus.com also includes these other words as synonyms to negotiation:
    "agreement, arbitration, compromise, conference, consultation, debate, diplomacy,
    discussion, intervention, mediation, meeting, and transaction," none of which are
    synonymous with the term "procure."
            In the relevant context, procuring is the act of obtaining the job opportunity;
    negotiation is working toward the agreement of an obtained opportunity.
            The Labor Commissioner intentionally conflates these terms; considering
    negotiation an element of procurement and thus an activity reserved for licensees:




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                  "We reject [the] contention that to prove unlawful
            procurement or attempted procurement one must offer evidence
            of solicitation or an initiated contact. This argument runs afoul of
            well-established principles which we choose to follow, namely,
            that the furthering of an offer constitutes a significant aspect of
            procurement prohibited by law since procurement includes the
            entire process of reaching an agreement on negotiated terms
            where the intended purpose is to mark an artist's talent." Pryor v
            Franklin, TAC 17 MP114(1982); emphasis added.
           It is not acceptable for an adjudicator to arbitrarily "choose to follow" a legal
    path; that is exactly what Courts prohibit."A vague law impermissibly delegates basic
    policy matters to policemen,judges, and juries for resolution on an ad hoc and
    subjective basis, with the attendant dangers of arbitrary and discriminatory
    application." Gravned v. City of Rockford (1972)408 U.S. 104, 108-109. All
    Americans, including personal managers, have the constitutional right to notice and
    reasonable opportunity to know what is required and prohibited. Na law can be
    interpreted to encourage or facilitate arbitrary, potentially discriminatory enforcement.
          "Fair notice is an essential requirement of any statutory scheme. `It is a basic
    principle of due process that an enactment is void for vagueness if its prohibitions are
    not clearly defined. Vague laws offend several important values. First, because we
    assume that man is free to steer between lawful and unlawful conduct, we insist that
    laws give the person of ordinary intelligence a reasonable opportunity to know what is
    prohibited, so that he may act accordingly. Vague laws may trap the innocent by not
    providing fair warning." Pacific Bell LLC v. Public Utilities Commission. 140 4`h 718,
    736(2006). See also City of Chicago v. Morales, 527 U.S. 41, 52, 58-59(1999);
    Kolender v. Lawson, 461 U.S. 352, 357(1983); and among others Smith v. Gougen,
    415 U.S. 566, 575(1972),
          It i~ important t~ note the civil nature ~fthese disputes in n~ way remove the
    Labor Commissioner's burden for clarity: Civil as well as criminal statutes must be
    sufficiently clear to provide a standard or guide against which conduct can be



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     uniformly judged by courts and administrative agencies." Id.; see cited case of
     Morrison v. State Board of Education, 1 Cal. 3d 214, 231 (1969).
            James Blancarte is a transactional attorney, a recognized specialist in
     negotiation. Per Solis v. Blancarte. TAC-27089(2013), Blancarte was contacted by
     Mario Solis, a sportscaster, after a local TV station expressed interested in him.(Id.,
    Pg. 3, lines 4-11. Blancarte negotiated the compensation, length of contract and other
    terms (Id., lines 19-23). Over seven years, the contract was renewed three times. The
    Labor Commissioner found that because a sportscaster is considered an artist (Id., Pg.
    6,lines 3-11) and that "`procurement' includes any active participation in a
    communication with a potential purchaser ofthe artist's services aimed at obtaining
    employment for the artist, regardless of who initiated the communication."
           Respectfully, it is impossible for one to think Blancarte went out and got
    something —procured it —when his work was fully reactionary to an opportunity he
    had nothing to do with initiating, it already earisted when he was brought in to
    ma~mize the financials ofthe opportunity.
           The Supreme Court has recognized that "considerable weight should be
    accorded to an executive department's construction of a statutory scheme it is
    entrusted to administer." Chevron, USA v. NRDC,467 U.S. 837, 844 -845 (1984).
    However,that accommodation should be disturbed if"it appears from the statute or its
    legislative history that the accommodation is not one that Congress would have
    sanctioned." Id., Pg. 845. The Labor Commissioner's admitted choice to make one
    action out oftwo obviously separate actions, so incongruous to the words' ordinary,
    contemporary, common meaning is absurd and thus this Court should disturb it.
          Without redress, the Labor Commissioner will continue to mete out,
    inconsistent, arbitrary rulings on what it means to "procure."
         In Mac Gra v. Lori Leve Mana ement(TAC 18-00), the manager's right to
    enforce a contract with an artist was affirmed, where the Commissioner found a
    showcase the manager arranged was to procure a recording contract. Indeed, Epic
    Records promptly signed Gray "as a direct result of the showcase" and Gray did not


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    commission the engagement. But in Park v. Deftones(TAC 9-97), the manager was
    found to have violated TAA for organizing 83 showcases for his client until, on the
    84`~ effort, the band was signed to Maverick Records. The managers in both actions
    took identical actions but the Commissioner reached opposite results. Ironically, the
    manager in Deftones was punished for his tenacious commitment to his client. If a
    single action is legal, its repetition cannot be illegal. We cannot live in a world which
    is,"If at first you don't succeed, if you try again it's illegal." Ifthe Defendant cannot
    explain why determination makes something unlawful, it must accede that if an
    activity is lawful once, repeated efforts cannot morph its lawfulness.
           The Act offers no clarity as to what actions create illicit procurement. The
    Defendant admits of there being no bright line between legal versus unlawful
    behavior and adjudicators have no guidelines to follow, resulting, as the Marathon
    court noted, the Defendant's findings have been arbitrary, contradictory, and as
    applied, unconstitutional.

    B.     There is Ambiguity As To The Consequences For Violating The TAA

           What most distinguishes The Talent Agencies Act from the Real Estate,
    Contractors, Bar Act and other licensing schemes is the choice or failure ofthe
    Legislature to codify a penalty provision for unlicensed activity.
           Per BPC § 10136 of the Real Estate Act, unlicensed persons have no
    right to "collection ofcompensation for the performance [of a real estate
    transaction] without alleging and proving that he was a duly licensed real estate
    broker or real estate salesman at the time the alleged cause ofthe action arose.
    Per BPC § 10139, those found to be engaging in the activities ofa licensed
    broker without a license faces fines up to $20,000 and asix-month jail term.
          Per § 612E and § 6126.~(al ~fthe State Bar Act, any person found tc~ be
    practicing law without a license is guilty of a crime punishable by
    imprisonment. Per § 6126.5, should anyone violate the above provisions while
    providing other services or selling goods, the remedy can include restitution,


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    actual damages, penalty and tax liabilities repaid, legal fees, interest and
    equitable relief.
           Per BPC § 7031:(a) ofthe Contractor's Act, anyone found to have
    engaged in the business or acting in the capacity of a contractor without a
    license has no the right to contract;(b)those who utilized the services of an
    unlicensed contractor may bring an action to recover all paid compensation; and
   (c)any security interests to secure payments to the unlicensed contractors are
    ruled unenforceable.
           In contrast, the TAA "is silent —completely silent — on the subject of the
    proper remedy for illegal procurement." Marathon Supra at 987. Unlike all
    other state licensing schemes,the TAA has no depravation statute giving
    authority to void or otherwise impair a violator's contractual rights. Neither is
    there notice offine, penalty, repayment of interest nor criminality:(Lab. Code §
     1700.44(b),"the failure of any person to obtain a license pursuant to this
    chapter shall not be considered a criminal act under any law ofthis state.")
           That alone, per CA.law, should be enough for this Court to rule that the
    statutory scheme is unconstitutionally vague. "[I]n order for a consequence to
    be implied from a statute there must be greater justification for its inclusion than
    a consistency or compatibility with the act from which it is implied. A
    necessary implication within the meaning ofthe law is one that is so strong in
    its probability that the contrary thereof cannot reasonably be supposed." Grubb
    & Ellis Co. v. Bello, 19 Cal.App. 4th 231, 240(1993).
           "Engrained in our concept of due process is the requirement of notice.
    Notice is sometimes essential so that the citizen has the chance to defend
    charges. Notice is required before property interests are disturbed, before
    assessments are made, before penalties are assessed." Lambert v. California 355
    U.S. 225, 228(1957).
           The Defendant's established record of affecting the contractual rights of
    someone found to engage in unlicensed procurement —despite the Act being


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    completely silent on the subject ofthe proper remedy —conflicts with well-
    settled California law:
              "The general rule is that "[w]here the enabling statute is essentially
         remedial, and does not carry a penal program declaring certain practices
         to be crimes or provide penalties or fines in vindication of public rights,
         an agency does not have discretion to devise punitive measures such as
         the prescription ofpenalties or fines. ...
              "An administrative agency cannot by its own regulations create a
         remedy which the Legislature has withheld.'Administrative regulations
         that alter or amend the statute or enlarge or impair its scope are void and
         courts not only may, but it is their obligation to strike down such
         regulations.' Moms v. Williams, 67 Ca12d 733,748(1967)." Dyna-Med
         Inc. v. Fair Empl.& Housin~Comm., 43 Cal. 3d 1385,1388 (1987).
           When the Labor Commission finds a TAA violation, it cites Buchwald v.
    Superior Court, 254 Cal. App. 2d 347(1967) as the legal rational to disgorge
    the violator's contractual rights."Since the cleax object ofthe Act is to prevent
    improper persons from becoming [talent agents] and to regulate such activity
    for the protection ofthe public, a contract between an unlicensed [talent agent]
    and the artist is void." Id. at 351.
        Buchwald has been the basis offive decades of determinations where personal
    managers —and now producers and attorneys —lose the benefit oftheir labors. It
    is also legally unsupportable: It is wrong about the Act's "clear object," and more
    important, all the relevant precedents Buchwald cites in its holding regarding
    remedies stand in conflict with Buchwald's conclusions.
        There is no evidence the state ever worried about "improper persons" being
    talent agents. The state asks for no tests, no apprenticeships, no proof of
    competency... getting a talent agency license just requires filling out forms, mainly
    contact information, get a couple of associates to give personal recommendations,
    remit a $250 fee and send in some fingerprints. The only material barrier to a talent
    agency license is one's ability to remit the $50,000 bond, and improper cannot be
    defined as "not able to afford something."
        Comparatively, one cannotjust decide to be an attorney: they first have to have


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    the overall academic qualifications and test scores to be accepted to a law school.
    After this post-graduate schooling, which includes intensive study regarding the
    legality of contracts, attorneys must pass a famously detailed test, and each year
    thereafter participate in continuing education seminars. Much of this is codified in
    the State Bar Act.
        Ifthe Legislature wanted to put qualifications ofcompetence, experience or
    education as a barrier to licensure, as it does for lawyers, contractors, doctors, etc.,
    to ensure "improper persons" did not become or act as talent agents, it would have
    codified similar provisions into the TAA.It did not, and there is no evidence the
    Legislature ever considered. such barriers to becoming or remaining a talent agent.
        It is uniformly accepted the Act was created not to keep "improper persons"
    from being talent agents, but to keep employers from masquerading as employment
    counselors, to stop owners of burlesque halls and bordellos from fronting as talent
    representatives to lure ingenues to work for them. After three years ofstudying the
    Act, the California Entertainment Commission issued a report saying they could
    find "no clear legislative intent" as to the state's stance as to whether "anyone other
    than a licensed talent agent[may] procure employment for an artist without
    obtaining a talent agent's license from the Labor Commissioner."(Report of the
    California Ent. Comm.,pg. 15.)
        Most damning: all four State Supreme Court precedents the Appeals Court
    case Buchwald cites for its foundational rationale to void contracts for a TAA
    violation hold that voiding a contract is only proper under circumstances that do not
    exist in the TAA as written(Wood v. Krepps, 168 Cal. 382(1914), Smith v. Bach,
    183 Cal. 259(1920), Loving &Evans v. Blick, 33 Cal. 2d 603(1949), Severance
    v. Knight-Counihan Co., 29 Ca1.2d 561 (1947).
           Wood refused to void a contract because the ordinance did not "declare
    that a contract made by any one in the conduct ofthe various businesses for which
    licenses are provided to be procured ... be invalid; nor is there any provision




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    therein indicating in the slightest this failure was intended to affect in any degree
    the right of contract." Id. at 386. The TAA has no such provision.
            In Smith,the Court found that,"The imposition by statute of a penalty
    implies a prohibition ofthe act to which the penalty is attached, and a contract
    founded upon such act is void." Id. at 262. The TAA bas no penalty statute and
    thus does not have, per Smith,the authority to void a contract.
            Loving found that, "it has been repeatedly declared in this state that `a
    contract made contrary to the terms of a law designed for the protection of the
    public and prescribing a penalty for the violation thereof is illegal and void, and no
    action may be brought to enforce such contract."' While Defendant can argue the
    TAA was originally designed to protect the public, as the legislature did not
    prescribe a penalty, per Loving, the TAA does not give her the authority to
    declare a contract void.
         Per Severance v. Knight-Counihan Co., 29 Ca1.2d 561 (1947): "If the statue
    does not provide expressly that its violation will deprive the parties to sue on
    the contract," and the TAA has no such clause,"and the denial of the relief is
    wholly out of proportion to the requirements of public policy or appropriate
    individual punishment,the right to recover will not be denied."5
         Personal management is a contingency occupation; compensation is based on
    an agreed-to percentage of the artist's generated income.6 Denying compensation

    S On December 19, 2013,the Los Angeles Daily Journal published an article about how the Buchwald
    holding is unaligned from the precedents it proffers to use as foundational. The legal trade paper chose
    plain language in entitling the column,"A Generation ofIncorrect Talent Agencies Act Rulings."
    6 It is a common misconception that personal managers do not to apply for talent agency licenses so they
    can charge more than ten percent. Not true: the TAA does not limit agency compensation; it only
    requires cliendagency fee schedules to be submitted to the Labor Commissioner. Personal managers
    become talent agents because personal managers co-represent clients with talent agents, and the bylaws
    of each of the Artist Guilds —SAG/AFTRA,EQUITY, WGA and DGA — is a clause limiting the total
    compensation of talent agents to 10%. If a personal manager had a talent agency license and wanted to
    sign aguild-protected client, as all working artists are, and that potential client already was with a talent
    agency, there would be a barrier to the personal manager getting compensated at all. Conversely, it
    would be impossible to bring a working client to a talent agency, because would be no way to
    compensate the talent agent. Thus, getting a talent agency license would make personal managers and
    talent agents competitors, instead of complementary representatives as the industry works today.


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     after the artist has received the benefit ofthe manager's labors for months, often
     years oftrying to better the plateau of an artist for their mutual economic benefit is
     neither proportional to the requirements of public policy nor in any way an
     appropriate remedy.
         The U.S. Supreme Court has held that no matter how obvious it is that the
    legislature may want to punish a violator, notice is needed. Assigning a penalty
     without statutory guideposts "is a task outside the bounds ofjudicial interpretation"
    reserved only by legislative action. U.S. v. Evans, 333 U.S. 483,495 (1948).
          In Evans, the statute prohibited both brin gin~ undocumented persons into the
    country and harboring them, but only contained a penalty for the former. While
    noting Congress wanted to prohibit both actions, the Court stated it was powerless
    to create a penalty for harboring because only Congress can assign penalties.
     Violations of law are "made up of two parts, forbidden conduct and a prescribed
    penalty. The former without the latter is no [violation]." See Evans at 486.
           The law is clear: contracts cannot be affected without proper notice of
    remedy. The TAA,without a prescribed remedy, is unconstitutionally vague.

    D.     As Applied By Defendant,The TAA Puts An Unfair Burden On
           Interstate Commerce

           Requiring citizens to use an in-state licensee versus a professional from
    outside the state is unconstitutional and illegal when,"the burden imposed on
    interstate commerce is clearly excessive in relation to the putative local
    benefits." Pike v. Bruce Church Inc, 397 U.S. 137, 142(1970).
           The TAA's burden versus local benefits is clearly excessive, especially
    when it is clear that the one who benefits is the artist the TAA was created to
    protect, Why is harmed by a ~'alifornia-based artist having an opportunity
    they think is worthy enough to travel for?




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           As an example: the TAA found that Anita Baker's manager had
    violated § 1700.4(a) by using aParis-based agency to get Ms. Baker a French
    endorsement deal and for her concert dates, used what was recognized as the
    premiere booking agency for urban artists, the Associated Booking
    Corporation("ABC"),co-founded by Louis Armstrong, despite ABC being
    domiciled in New York City. See Baker v Bash, TAC 12-96.
           ABC specialized in urban acts. No in-state agency had the capability,
    know-how and roster to provide the quality of opportunities ABC could offer.
          To ensure all procurement actions were lawful as the TAA is enforced,
    Baker could have(1)fired ABC and been burdened by using an inferior but
    licensed agent; or(2)hired a licensee to work with ABC and had ABC only
    procure after getting permission each time from the licensee.
          Either option would have burdened Ms. Baker's business. Losing the
    unequalled ability of ABC almost inevitably would have lowered her job
    options; using a second agency would have necessarily lowered her net profit
    by 10%.
          Similarly, no licensed agency then or now has the same capability to
    reach out to the French buying community as a local talent agency. Here
    again, Ms. Baker was faced with only using a licensed agent and almost
    inevitably not heard about the opportunity, or necessarily paid out an extra
    10% by involving the licensed agent.
          Clearly this barrier to interstate commerce is an unfair burden and, per
    Pike, unconstitutional, to Baker and the many others in similar positions, be
    they country or oldies artists that play regional fairs that regional agents are
    used for, or performers who have moved to America but still want to use
    agents from their native lands to better look out for them back home. It also
    favors the group being regulated over the group the Act was created to
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    protect; hence eviscerating the rational basis ofthe law.
           The enforcement is also protectionist, giving an unfair business
    advantage to the in-state licensed agency, to the detriment ofthe out of state
    entity. Per Pike,the Supreme Court...
                "has viewed with particular suspicion state statutes requiring
           business operations to be performed in the home State that could
           more efficiently be performed elsewhere. Even where the State is
           pursuing a clearly legitimate local interest, this particular burden
           on commerce has been declared to be virtually per se illegal.
           Foster-Fountain Packing. v. Haydel, 278 U. S. 1; Toomer v.
           Witsell, 334 U. S. 385." Pike v. Bruce Church, Inc. Supra at 145.
           No public purpose is served by a barrier which adds costs to the paxties
    the Act was created to protect. The only beneficiaries are protected parties
    using the Act as a sword to sever contractual obligations to those who had
    been looking out for their welfare. None ofthe more recent cases that narrow
    Pike have any applicability in this matter, leaving the Act, per Pike,
    unconstitutional; violative ofthe dormant commerce clause.


                                        CONCLUSION

           This suit was filed in State Court, and the Defendant chose to move it, using the
    pretext that this setting is more proper to decide the constitutional issues.
           But the unconstitutionality issues never need to be reached here. This is at its
    foundation a matter of contractual rights. The Talent Agencies Act has no provision of
    remedy, and it is hornbook law that unless there is notice ofconsequence, adjudicators
    have no authority to disturb anyone's contractual rights.
           Yes, as the inconsistencies of TAA determinations make clear, the Act is
    unconstitutionally vague on its face and how applied. As enforced, it serves as a
    protection racket for talent agents and an unconstitutional burden on interstate



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    commerce. With all that in mind,the Plaintiff beseeches this Court to bar the
    Labor Commissioner and all adjudicators, through an injunction order, from
    interfering on the contractual rights of anyone who has been entwined in a
    Talent Agencies Act controversy.


                                          Respectfy Submitted,

                                            c~         ~
                                          Rick Siegel ~n pro per




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           DECLARATION OF RICK SIEGEL IN SUPPORT OF MOTION

    I,RICK SIEGEL, declare under penalty of perjury under the laws ofthe State of California
    that the foregoing is true and correct:

           1.    I am an individual living and working in the County ofLos Angeles. The
    following is based upon my personal knowledge. If called as a witness, I could and would
    testify as such.

           2.    I submit this declaration in support ofthe Motion For Summary Judgement.

           3.    From 1990 through 2009, I was a personal manager representing actors,
    writers, directors and comedians. In 2017 I returned to that profession, after spending the
    interim time as the CFO of The Green Garmento, LLC,a manufacturer of environmentally
    friendly packaging for drycleaning, laundry and other applications.

           3.    I left the profession because after earnestly and honestly making people tens
    of millions of dollars and having that money what I considered to be wrongfully disgorged,
    I left the profession. The last straw, ironically, happened when a Court of Appeals affirmed
    Judge Snyder's finding that it was fine for the TAA not to have a penalty provision therein,
    that another set of statutes in a wholly different set of Codes (Civil instead ofLabor Code)
    about severability was authority enough.

           4.    A few years ago, after being amazed that the Labor Commissioner had found
    for a sportscaster and against an attorney for the attorney doing what attorneys do,
    negotiate the sportscaster's contract, I went back to the `Roe v. Wade of Talent Agency Act
    determinations, the 1967 Buchwald v. Superior Court case, wanting to see just how if
    determined its authority to void a contract. What I saw was new and eye-opening... that
    Buchwald is misaligned, in contradiction, misinterpreted and wrongfully stated all four of
    the holdings. In point offact, all four ofthe holdings, individually and even more strongly
    Together, hold That since the TAA has no notice ofremedy therein, state Iaw is clear that no
    adjudicator had the right to in any way affect the relevant contractual rights.
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           5.    With that knowledge, I knew that should the situation arise, I could be
    confident that ifI went back into the business and someone potentially wanted to use the
    TAA to avoid an obligation, I could return to the courts. I was confident that the four
    precedents Buchwald cited usurped by the four Supreme Court matters. Even if one chose
    to say that subsequent cases that are founded upon Buchwald,even CASC cases, could be
    challenged because they have contradictory holdings to not only the previous CASC cases,
    but the uniform holdings of other states and Federal cases.

           6.    I did return to management, and I have found myself at risk of a client first
    getting a deal and then choosing not to pay me the owed compensation.

           7.    I filed in State Court because, while I think there are clear constitutional issues
    ofvagueness and the dormant commerce clause, first and foremost there are statutory
    construction issues to where I doubt the constitutional issues will ever need to be
    adjudicated in this matter.

           8.    Since the filing, I have had several conversations with opposing counsel. I
    offered to withdraw my case with prejudice if even one published case could be found
    where notice wasn't necessary before, quoting the United States Supreme Court, property
    rights interests are disturbed, before assessments are made, before penalties are assessed."
    Lambert v. California 355 U.S. 225,228(1957). As I was informed a few days ago that we
    will need to go ahead,I can only assume that he was unable to find that case. And it is my
    understanding if it cannot be found, than the claims should be affirmed.



    Ifthe above is untrue, I am ready to accept any appropriate penalty. I am cognizant
    of California's definition of perjury and its potential penalties, including prison.
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                                                        Rick Siegel




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                                        PROOF OF SERVICE



           I am over the age of 18 and not party to this action.

           I am a resident of and employed where the mailing occurred; my business address
           is 20109 Nordhoff St, Chatsworth CA 91311.

           On August 22, 2017, I served the interested parties in the action entitled Rick
           Siegel v. Julie Su, acting in her official capacity as Labor Commissioner, by
           placing a true copy thereof enclosed in a sealed envelope as follows:


          [] BY U.S. MAIL              I deposited such an envelope in the mail at Reseda,
                                       California, with postage thereon fully prepaid.

          [] BY FAX                    I caused such documents to be faxed to the
                                       above mentioned address(es).

          [x} BY COURIER               I caused such envelope to be sent via courier and
                                       delivered to
                                                   John Killeen
                                                   Deputy Attorney General
                                                   1300 I Street, Ste 124
                                                   Sacramento, CA 94244-2550
                                                  916 324 8835

          [] BY PERSONAL               I caused such envelope to be delivered by hand to the
                                       offices ofthe SERVICE address(es).

          [X] STATE                    I declare under the penalty of perjury under the laws
                                       ofthe State of California that the foregoing is true and
                                       correct.

          [] FEDERAL                   I declare that I am employed in the office ofa
                                       member ofthe bar of this Court whose direction the
                                       service was made.

           Executed on December 4,2QI? at Los Angeles, California

         ~~~ ~~V
             Terrel Miller
